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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

 FRANK E GABLE,
                                                      Case No. 3:07-cv-00413-AC
                               Petitioner,
                                                      STATUS REPORT
                        v.

 MAX WILLIAMS,

                               Respondent.

       Pursuant to the Court’s Order directing Petitioner to file a status report by June 12, 2019,

Petitioner provides the following update.      As previously noted, Petitioner does not oppose

Respondent’s stay motion (CR 171). Respondent does not oppose Petitioner’s release upon

conditions. However, Respondent opposes Petitioner’s request to vacate the state-court judgment

and opposes any order that the Oregon Department of Corrections (ODOC) recalculate Petitioner’s

time. Undersigned counsel is continuing to pursue resolution of the BOP recalculation issue,

which could eliminate the need to have the ODOC perform any recomputation. However,

undersigned counsel needs additional time to continue to pursue such a resolution.

       The parties also are continuing to discuss potential additional conditions for release. The

parties agree that this Court may impose all conditions that are contained in the Judgment in United
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States v. Gable, No. 90-170, which was set out as an exhibit to Petitioner’s motion for release

pending appeal. CR 181-2. The parties also agree to the following conditions of release:

   1. Petitioner shall appear if required by the Court at all proceedings related to this matter.

   2. Petitioner shall not have contact with any witness who testified at his state-court trial on

       the murder charges that are the subject of this proceeding. This provision does not preclude

       petitioner’s attorneys and other members of his legal team from having such contact.

       Should any such witness reach out to Petitioner, he may only respond by directing them to

       contact his attorney, and such contact would not be treated as a violation of this condition.

   3. Petitioner shall not be permitted to apply for or obtain a passport or to travel internationally.

       Undersigned counsel hopes to further narrow the issues for decision by this Court, and,

accordingly, requests the opportunity to provide an additional status report to the Court by June

24, 2019.

       Respectfully submitted on June 12, 2019.

                                             /s/ Nell Brown
                                             Nell Brown, Assistant Federal Public Defender

                                             /s/ Mark Ahlemeyer
                                             Mark Ahlemeyer, Assistant Federal Public Defender
                                             Attorneys for Petitioner




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